         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2023-2328
                 LT Case No. 2023-CF-016220-A
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THOMAS MASON,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Brevard County.
Aaron Peacock, Judge.

Matthew J. Metz, Public Defender, and Darnelle Paige Lawshe,
Assistant Public Defender, Daytona Beach, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Stephen R.
Putnam, Jr., Assistant Attorney General, Daytona Beach, for
Appellee.

                            August 27, 2024


PER CURIAM.

    AFFIRMED.


EDWARDS, C.J., and MAKAR and LAMBERT, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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